

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-33,157-02






EX PARTE SCOTTY MURL CASSELMAN, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 8983-A IN THE 132ND JUDICIAL DISTRICT COURT


FROM SCURRY COUNTY






	Per curiam.


O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant entered an open plea of guilty to
possession of a controlled substance, and was sentenced to forty  years' imprisonment.   

	Applicant contends, inter alia, that his counsel rendered ineffective assistance because 
counsel failed to advise Applicant of the means of and time line for filing a notice of appeal. 
Counsel apparently advised Applicant that he would need the trial court's permission to appeal, and
that the trial court would be unlikely to grant such permission.  However, the record indicates that
Applicant filed an open plea of guilty, and therefore retained his right to appeal matters relating to
his sentencing.  The record does not contain a written waiver of appeal, or anything else to show that
Applicant affirmatively waived his appellate rights.

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington,
466 U.S. 668 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).   In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1960), the trial court is the appropriate forum for findings of fact.  The trial court
may use any means set out in Tex. Code Crim. Proc. art. 11.07, § 3(d).  In the appropriate case, the
trial court may rely on its personal recollection.  Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall first supplement the record with copies of any written waiver of appeal
signed by Applicant, and with a transcript of the plea and punishment proceedings.  The trial court
shall make findings of fact as to whether Applicant was denied his right to a meaningful appeal
because Applicant's counsel failed to correctly advise him about his limited right to appeal.  The trial
court shall also make any other findings of fact and conclusions of law that it deems relevant and
appropriate to the disposition of Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court.  A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 

Filed:	January 11, 2012

Do not publish


